                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                  3:04CR36-02

UNITED STATES OF AMERICA            )
                                    )
vs.                                 )                         ORDER
                                    )
SAMUEL KINGSFIELD,                  )
                                    )
                  Defendant.        )
____________________________________)

       THIS MATTER IS BEFORE THE COURT on its own motion. The Court held a

conference with the parties on March 1, 2006, to schedule an appropriate date for trial. With consent

of counsel for the Government and for the Defendant, this case is scheduled for trial on August 22,

2006, beginning at 10:00 A.M.

       IT IS SO ORDERED.

                                                 Signed: March 1, 2006




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